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                          UNITED STATES BANKRUPTCY COURT

                           FOR THE DISTRICT OF PUERTO RICO



   IN RE:                                                 CASE NO. 19-01384- ESL11

   CARLOS H. ORTIZ COLON                                   CHAPTER 11

   XXX – XX – 3410



   MARIBEL RODRÍGUEZ RÍOS

   XXX – XX – 8779



   Debtors
   IN RE:                                                 CASE NO. 19-01386-ESL11

   VAQUERIA ORTIZ RODRIGUEZ INC                           CHAPTER 11

   660 – 55 – 6472



   Debtor

  MOTION REQUESTING ENTRY OF ORDER AUTHORIZING THE LEASE OF 10,000
                                     LTS OF MILK QUOTA



        TO THE HONORABLE COURT:
        COME NOW the Debtors CARLOS H. ORTÍZ COLÓN and his wife MARIBEL

 RODRÍGUEZ RÍOS; and VAQUERÍA ORTÍZ RODRÍGUEZ INC. through the undersigned

 attorney and very respectfully set forth and pray:


    1. On March 14, 2019 the Debtors, CARLOS H. ORTÍZ COLÓN and his wife MARIBEL

        RODRÍGUEZ RÍOS filed a voluntary petition for relief under the provisions of 11 U.S.C.
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       §1101 et. seq. numbered 19-01384-ESL11, and as of that date they have been managing

       their affairs and operating their business.

    2. On March 14, 2019 the Debtor, VAQUERÍA ORTÍZ RODRÍGUEZ INC. filed a voluntary

       petition for relief under the provisions of 11 U.S.C. §1101 et. seq. numbered 19-01386-

       ESL11 and as of that this date the Debtor has been managing its affairs and operating its

       business.

    3. On May 29, 2019 the Debtors, CARLOS H. ORTÍZ COLÓN and his wife MARIBEL

       RODRÍGUEZ RÍOS; and VAQUERÍA ORTÍZ RODRÍGUEZ INC. requested the

       Administrative Consolidation of their cases and the Court granted it in open Court on June

       4, 2019 (Docket No. 54).

    4. The Debtor VAQUERÍA ORTÍZ RODRÍGUEZ INC. (“VOR”) operates a dairy farm under

       license #3111 as authorized by the Oficina de Reglamentación de Industria Lechera

       (“ORIL”) in 90.0 cuerdas owned by Carlos H Ortiz Colon and Maribel Rodríguez, located

       at Rd 123, Formed Rd. 10 “Sector Jaguar” in Arecibo PR. The Debtor (Vaquería Ortiz

       Rodríguez Inc) has a bi-weekly milk production quota of 93,010 liters.

    5. The Debtor, Vaquería Ortiz Rodríguez Inc. has an interested party in leasing from it the

       10,000 liters of VOR’s Milk Quota. JOEL ANIBAL DELGADO LÓPEZ and

       JEANNETTE MILAGROS MORALE SEDA (from hereon, the “lessees”) have offered to

       lease 10,000 liters of bi-weekly milk quota from VOR. The lessees have a license from

       ORIL numbered 2945 with physical address of their farm Carr. 478 Km. 3.3 Quebradillas,

       PR 00678-1199, and postal address PO Box 1199 Quebradillas PR 00678-1199. The

       lessees are Debtors under bankruptcy case 17-05680-BKT12 and will request Court’s

       authorization in their case in order to execute the lease procured herein.
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    6. The payment for the leased milk quota will be $0.10 per liter which is equivalent to $1,000

       bi-weekly. This payment will be made by direct debit (“cession de planta”) from the milk

       sales of the lessee to Suiza Dairy Corp, or Vaqueria Tres Monjitas Inc, and will be sent

       directly to the secured creditor of Vaquería Ortiz Rodriguez Inc., Condado 4 LLC, at its

       address PO Box 190085, San Juan PR 00919

    7. The lease term is SIX (6) MONTHS. This term will begin to count/compute once this

       Honorable Court has approved this lease agreement and it is presented in ORIL. The Six

       (6) months will begin to count/compute once the lessees begin to use the leased quota and

       this is when ORIL passes the quota on to his license. The parties can extend these six (6)

       months term for additional six (6) months by agreement between them and by requesting

       authorization from the Court. The maximun term will be twelve (12) months.

    8. The funds derived from this lease agreement will be used to pay secured creditor as part of

       the Chapter 11 Plan of Reorganization of the Debtor Vaquería Ortiz Rodriguez Inc. This

       payment will allow the Debtor, VOR, to file a feasible Plan and have enough funds to pay

       the secured creditor, Condado 4 LLC. Without these funds the Debtor would have to sell

       or lose its collateral (the Milk Quota). The time proposed for the lease (6 months) will

       allow the Debtors to proceed with obtaining a loan to purchase milking heifers and at the

       end of the 6 months period, have the cows to fully utilize/maximize the 93,010 of Milk

       Quota it owns.

    9. It is respectfully requested that this Honorable Court approves the proposed lease of milk

       quota as described herein.

    10. Once this lease is approved by this Honorable Court the parties will prepare a notarized

       contract and submit the same with copy of this motion and the order of the Court to ORIL.
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    11. Currently ther eis no Order from ORIL, that prohibits the leases, sales and or transfers of

           Milk Quota.

                               REQUEST TO SHORTEN OBJECTION PERIOD

    12. Pursuant to FRBP 9006 (c) (1) the Court may reduce the objection period of a determined

           Motion “when an act is required or allowed to be done at or within a specified time by

           these rules or by a notice given thereunder or by order of court, the court for cause shown

           may in its discretion with or without motion or notice order the period reduced.”

    13. The parties understand that there is cause for shortening the objection period of this Motion

           to Seven (7) days since they are in urgent need of additional funds to pay the Secured

           Creditor and to obtain a breathing space in order to continue with the loan procees. The

           proposed lease will allow said space because they will be able to file a Stipulation with the

           Secured Creditor and ta Confirmable Chapter 11 Plan.




     WHEREFORE the Debtors herein requests that this Honorable Court takes notice of this

 Motion and approves the lease of Milk Quota of 10,000 liters as described hereinas described

 herein.




                  RESPECTFULLY SUBMITTED

                  In Mayaguez, PR this July 8, 2019



                                                NOTICE
 Within SEVEN (7) days after service as evidenced by the certification, and an additional
 three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served by mail, any party
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 against whom this paper has been served, or any other party to the action who objects to the
 relief sought herein, shall serve and file an objection or other appropriate response to this
 paper with the clerks office of the United States Bankruptcy Court for the District of Puerto
 Rico. If no objection or other response is filed within the time allowed herein, the paper will
 be deemed unopposed and may be granted unless: (i) the requested relief is forbidden by
 law; (ii) the requested relief is against public policy; or (iii) in the opinion of the court, the
 interest of justice requires otherwise.




                                   CERTIFICATE OF SERVICE

     Notice of this MOTION has been electronically provided by the CM/ECF system to: The US

 Trustee for the District of Puerto Rico and to all attorneys and Creditors that have filed a notice

 of appearance. The non-CM/ECF participants will be notified by first class mail as per the Master

 Address List included herein. The following Parties will be notified by email directly:


     Edward Hill, Esq. – as Counsel for ORIL at ehill@hillgonzalezlaw.com; will also be notified

 by CERTIFIED MAIL at: P.M.B 248 La Cumbre, 273 Sierra Morena San Juan, P.R. 00926


     Puerto Rico Dairy Industry Regulation Office (ORIL) at: oril@agricultura.pr.gov; and by

 CERTIFIED MAIL at: Apartado 10163, Santurce PR 00908


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